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HONOMBLE RONALD B. LEIGHTON

OH/G//VA£

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF WASHINGTON
AT TACOMA

MONIQUE CHARLENE TILLMAN CASE NO. C16-5794RBL
and ERIC BRANCH

Plaintiffs,
v.

JARED WILLIAMS and the CITY OF
TACOMA,

Defendants.

 

 

 

 

COURT’S INSTRUCTIONS TO THE JURY

Dated this 21st day of March, 2018.

/?…SJ 6 C_~L`___

Ronald B. Leighton
United States District Judge

 

 

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,INSTRUCTION NO. 1

Members of the Jury: Now that you have heard all of the evidence, it is my duty to
instruct you as to the law of the case.

Each of you has received a copy of these instructions that you may take With you to the
jury room to consult during your deliberations

You must not infer from these instructions or from anything I may say or do as indicating
that I have an opinion regarding the evidence or what your verdict should be.

lt is your duty to flnd the facts from all the evidence in thc case. To those facts you will
apply the law as l give it to you. You must follow the law as I give it to you Whether you agree
with it or not. And you must not be influenced by any personal likes or dislikes, opinions,
prejudices, or sympathy. That means that you must decide the case solely on the evidence before
you. You will recall that you took an oath to do so.

ln following my instructions, you must follow all of them and not single out some and

ignore others; they are all important

 

 

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INSTRUCTION NO. 2
The evidence you are to consider in deciding what the facts are consists of:
1. the sworn testimony of any witness;
2. the exhibits which are received into evidence; and

3. any facts to which the lawyers have agreed.

 

 

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fNSTRUCTION NO. 3

ln reaching your verdict, you may consider only the testimony and exhibits received into

evidence Certain things are not evidence, and you may not consider them in deciding what the

facts are. I will list them for you:

1.

Arguments and statements by lawyers are not evidence The lawyers are not Witnesses.
What they have said in their opening statements, Will say in their closing arguments,
and at other times is intended to help you interpret the evidence, but it is not evidence
lf the facts as you remember them differ from the way the lawyers have stated them,
your memory of them controls.

Questions and objections by lawyers are not evidence Attorneys have a duty to their
clients to object when they believe a question is improper under the rules of evidence
You should not be influenced by the objection or by the court’s ruling on it.
Testimony that has been excluded or stricken, or that you have been instructed to
disregard, is not evidence and must not be considered ln addition sometimes testimony
and exhibits are received only for a limited purpose; When l give a limiting instruction,
you must follow it.

Anything you may have seen or heard when the court Was not in session is not

evidence. You are to decide the case solely on the evidence received at the trial.

 

 

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INSTRUCTION NO_. 4
Evidence may be direct or circumstantial. Direct evidence is direct proof of a fact, such as
testimony by a witness about what that witness personally Saw or heard or did. Circumstantial
evidence is proof of one or more facts from which you could find another fact. You should consider
both kinds of evidence Thc law makes no distinction between the weight to be given to either

direct or circumstantial evidence lt is for you to decide how much weight to give to any evidence 1

 

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INSTRUCTION NO. 5

In deciding the facts in this case, you may have to decide which testimony to believe and

which testimony not to believe You may believe everything a witness says, or part of it, or none

of it. Proof of a fact does not necessarily depend on the number of witnesses who testify about it.

In considering the testimony of any witness, you may take into account:

1.

2.

6.

7.

The opportunity and ability of the witness to see or hear or know the things testified to;
The witness’s memory;

The witness’s manner while testifying;

The witness’s interest in the outcome of the case and any bias or prejudice;

Whether other evidence contradicted the witness’s testimony;

The reasonableness of the Witness’s testimony in light of all the evidence; and

Any other factors that bear on believability.

The weight of the evidence as to a fact does not necessarily depend on the number of

witnesses who testify about it.

 

 

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INSTRUCTION NO. 6
Some witnesses, because of education or experience, are permitted to state opinions and
the reasons for those opinions.
Opinion testimony should be judged just like any other testimony. You may accept it or
reject it, and give it as much weight as you think it deserves, considering the witness’s education

and experience the reasons given for the opinion, and all the other evidence in the case

 

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lNSTRUCTlON NO. 7

When a party has the burden of proof on any claim by a preponderance of the evidence, it

means you must be persuaded by the evidence that the claim is more probably true than not true.

it.

You should base your decision on all of the evidence, regardless of which party presented

 

 

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You should decide the case as to each party separately. Unless otherwise stated, the

instructions apply to all parties.

INSTRUCTION NO. 8

 

 

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lNSTRUCTION NO. 9

The plaintiffs bring claims under the federal statute, 42 U.S.C. § 1983, which provides that

any person or persons who, under color of law, deprives another of any rights, privileges, or

immunities secured by the Constitution or laws of the United States shall be liable to the injured

party.

 

 

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lNSTRUCTION NO. 10

ln order to prevail on their Section 1983 claims against defendant Williams, the plaintiffs
must prove each of the following elements by a preponderance of the evidence:

1. the defendant acted under color of law; and

2. the acts of the defendant deprived the plaintiffs of their particular rights under the

United States Constitution as explained in later instructions

A person acts “under color of law” when the person acts or purports to act in the
performance of official duties under any state, county; or municipal law, ordinance, or regulation
1 instruct you that the defendants acted under the color of law.

If you find the plaintiffs have proved each of these elements, and if you find that the
plaintiffs have proved all the elements they are required to prove in lnstruction Nos. 12 or 13, your
verdict should be for the plaintiffs lf, on the other hand, the plaintiffs have failed to prove any
one or more of these elements, your verdict should be for the defendant on their Section 1983

claims

 

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INSTRUCTION NO. 11
ln order to establish that the defendants’ acts deprived plaintiffs of their particular rights
under the United States Constitution as explained in later instructions the plaintiffs must prove
by a preponderance of the evidence that the acts were so clearly related to the deprivation of his
rights as to be a proximate cause of the ultimate injury.
The term, “proximate cause” means a cause which in a direct sequence produces the
injury complained of and without which, the injury would not have happened There may be one

or more proximate causes of inj ury.

 

 

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INSTRUCTION NO. 12

In general, a seizure of a person is unreasonable under the Fourth Amendment if a police
officer uses excessive force in making a lawful arrest or in defending himself. Thus, in order to
prove an unreasonable seizure in this case, plaintiff Tillman must prove by a preponderance of the
evidence that defendant Williams used excessive force when he subdued her.

Under the Fourth Amendment, a police officer may only use such force as is “objectively
reasonable” under all of the circumstances ln other words, you must judge the reasonableness of
a particular use of force from the perspective of a reasonable officer on the scene and not with the
20/20 vision of hindsight

ln determining whether the officer used excessive force in this case, consider all of the

circumstances known to the officers on the scene, including:

1. The severity of the crime or other circumstances to which the officers were responding;
2. Whether the plaintiff posed an immediate threat to the safety of the officers or to others;
3. Whether the plaintiff was actively resisting arrest or attempting to evade arrest by
flight;
4. The amount of time and any changing circumstances during which the officer had to
determine the type and amount of force that appeared to be necessary;
5. The type and amount of force used;
6. The availability of alternative methods to subdue the plaintiff;
7. The number of lives at risk (motorists, pedestrians, police officers) and the parties’
relative culpability;
8. Whether a warning was given prior to the use of force, if feasible;
9. Whether there was probable cause for a reasonable officer to believe that the suspect
had committed a crime involving the infliction or threatened infliction of serious

physical harm; and

 

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10. The relative size and strength differences between the officer and the plaintiff.

These are known as the Graham factors

 

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lNSTRUCTION NO. 13

ln general, a seizure of a person by arrest without a Warrant is reasonable if the arresting
officer had probable cause to believe the plaintiff has committed or was committing a crime

ln order to prove the seizure in this case was unreasonable a plaintiff must prove by a
preponderance of the evidence that he or she was arrested without probable cause

“Probable cause” exists when, under all of the circumstances known to the officer at the
time, an objectively reasonable police officer would conclude there is a fair probability that the
plaintiff has committed or was committing a crime

Although the facts known to the officer are relevant to your inquiry, the officer’s intent or

motive is not relevant to your inquiry.

 

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lNSTRUCTION NO. 14

ln order to prevail on her § 1983 claims against defendant the City of Tacoma alleging
liability based on ratification by a final policymaker, plaintiff Tillman must prove each of the
following elements by a preponderance of the evidence:

1. Defendant Williams acted under color of state law;

2. The acts of defendant Williams deprived a plaintiff of particular rights under the

United States Constitution as explained in earlier instructions;

3. Chief Ramsdell acted under color of state law;

'4. Chief Ramsdell had final policymaking authority from defendant the City of Tacoma

concerning the acts of defendant Williams; and

5. Chief Ramsdell ratified defendant Williams’ acts, that is, Chief Ramsdell knew of and

specifically made a deliberate choice to approve defendant Williams’ acts and the
basis for them.

A person acts “under color of state law” when the person acts or purports to act in the
performance of official duties under any state county, or municipal law, ordinance or
regulation. The parties have stipulated that defendant Williams acted under color of state law;
therefore the first element requires no additional proof.

1 instruct you that Chief Ramsdell had final policymaking authority from defendant the
City of Tacoma concerning the acts at issue and, therefore the fourth element requires no proof.

If you find that plaintiff Tillman has proved each of these elements, and if you find that
she has proved all the elements that she is required to prove in lnstruction Nos. 12 or 13, your
verdict should be for plaintiff Tillman. If, on the other hand, plaintiff Tillman has failed to prove

any one or more of the elements above your verdict should be for the defendant

 

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INSTRUCTION NO. 15

In order to prevail on her § 1983 claims against defendant the City of Tacoma alleging
liability based on an official policy, practice or custom, plaintiff Tillman must prove each of the
following elements by a preponderance of the evidence

1. Defendant Williams acted under color of state law;

2. The acts of defendant Williams deprived a plaintiff of particular rights under the
United States Constitution as explained in earlier instructions;

3. Defendant Williams acted pursuant to an expressly adopted official policy or a
widespread or longstanding practice or custom of the defendant the City of Tacoma;
and

4. The defendant City of Tacoma’s official policy or Widespread or longstanding
practice or custom caused the deprivation of the plaintiffs rights by the defendant
Williams; that is, the City of Tacoma’s official policy or widespread or longstanding
practice or custom is so closely related to the deprivation of the plaintiff s rights as to
be the moving force that caused the ultimate injury.

A person acts “under color of state law” when the person acts or purports to act in the
performance of official duties under any state county, or municipal law, ordinance or regulation
The parties have stipulated that defendant Williams acted under color of state law; therefore the
first element requires no additional proof.

“Official policy” means a formal policy, such as a rule or regulation adopted by the
defendant City of Tacoma Police Department, resulting from a deliberate choice to follow a
course of action made from among various alternatives by the official or officials responsible for

establishing final policy with respect to the subject matter in question.

 

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“Practice or custom” means any longstanding, widespread, or well-settled practice or
custom that constitutes a standard operating procedure of the defendant the City of Tacoma. A
practice or custom can be established by repeated constitutional violations that were not properly
investigated and for which the violators were not disciplined, reprimanded or punished

If you find that plaintiff Tillman has proved each of these elements, and if you find she
has proved all the elements she is required to prove in lnstruction Nos. 12 or 13, your verdict
should be for plaintiff Tillman. lf, on the other hand, plaintiff Tillman has failed to prove any one

or more of the elements above your verdict should be for the defendant

 

 

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INSTRUCTIGN NO. 16

ln order to prevail on her § 1983 claim against defendant the City of Tacoma alleging
liability based on a policy of a failure to train its police officers, plaintiff Tillman must prove
each of the following elements by a preponderance of the evidence:

1. The acts of defendant Williams deprived the plaintiffs of their particular rights under

the United States Constitution as explained in later instructions;

2. Defendant Williams acted under color of state law;

3. The training policies of the defendant the City of Tacoma were not adequate to train
its police officers to handle the usual and recurring situations with Which they must
deal;

4. The defendant the City of Tacoma was deliberately indifferent to the known or
obvious consequences of its failure to train its police officers adequately; and

5. The failure of the defendant the City of Tacoma to provide adequate training caused
the deprivation of the plaintiff’ s rights by the defendant Williams; that is, the
defendant’s failure to train is so closely related to the deprivation of the plaintiff’ s
rights as to be the moving force that caused the ultimate injury.

A person acts “under color of state law” when the person acts or purports to act in the
performance of official duties under any state county, or municipal law, ordinance or regulation.
The parties have stipulated that defendant Williams acted under color of state law; therefore the
second element requires no additional proof.

A policy is a deliberate choice to follow a course of action made from among various
alternatives by the official or officials responsible for establishing final policy With respect to the

subject matter in question.

 

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“Deliberate indifference” is the conscious choice to disregard the consequences of one’s
acts or omissions The plaintiff may prove deliberate indifference in this case by showing that the
defendant the City of Tacoma knew its failure to train adequately made it highly predictable that
its police officers would engage in conduct that would deprive persons such as the plaintiff of her
rights

If you find that plaintiff Tillman has proved each of these elements, and if you find that
she has proved all the elements she is required to prove in lnstruction Nos. 12 or 13, your verdict
should be for plaintiff Tillman. If, on the other hand, plaintiff Tillman has failed to prove any one

or more of the elements above your verdict should be for the defendant

 

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lNSTRUCTION NO. 17
An encounter with law enforcement becomes a seizure When a reasonable person,
considering the totality of the circumstances would not feel free to decline the officers’ requests
or otherwise terminate the encounter.
An encounter with law enforcement becomes an arrest When a reasonable innocent

person would not feel free to leave after brief questioning

 

 

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INSTRUCTION NO. 18
Plaintiffs Tillman and Branch also claim they were subjected to false imprisonment To
establish this claim, a plaintiff must prove by a preponderance of the evidence that defendant
Williams unlawfully deprived him or her of liberty of movement or freedom to remain in the
place of their lawful choice
Such restraint or imprisonment may be accomplished by physical force alone by threat of

force, or by conduct reasonably implying that force will be used.

 

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INSTRUCTION NO. 19
Under Washington law, criminal trespass is defined as knowingly entering or remaining
unlawfully in or on the premises of another. Criminal trespass in the second degree is a
misdemeanor.
A person does not commit this crime if the premises were at the time open to members of
the public and the actor complied With all lawful conditions imposed on access to or remaining

on the premises

 

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INSTRUCTION NO. 20

Under the Tacoma Municipal Code a person commits the crime of Obstructing a Public

Servant when he or she knowingly hinders, delays, or obstructs any public servant in the

discharge of his or her official powers or duties

A police officer is entitled to make a custodial arrest for the crime of obstruction

However, refusal to answer questions is not sufficient grounds to arrest a person for

obstructing a police officer.

 

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lNSTRUCTION NO. 21

A person may attempt to use force to resist an arrest only if the person being arrested is in

actual and imminent danger of serious injury from an officer’s use of excessive force The person

may employ such force and means as a reasonably prudent person would use under the same or

similar circumstances

 

 

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INSTRUCTION NO. 22

To maintain an action for malicious prosecution against defendant Williams, plaintiff

Tillman must prove the following:

1.

5.

that the prosecution claimed to have been malicious was instituted or continued
by defendant Williams;

that there was no probable cause for the institution or continuation of the
prosecution;

that the proceedings were instituted or continued through malice;

that the proceedings terminated on the merits in the plaintiff` s favor, or were
abandoned; and

that the plaintiff suffered injury or damage as a result of the prosecution

Malice in the context of this lawsuit means that the prosecution complained of was

undertaken from improper or wrongful motives or in reckless disregard of the rights of the

plaintiff lmpropriety of motive may be established in cases of this sort by proof that the

defendant instituted the criminal proceedings against the plaintiff: (1) without believing her to be

guilty, or (2) primarily because of hostility or ill will toward her, or (3) for the purpose of

obtaining a private advantage as against her.

 

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INSTRUCTION NO. 23

lt is the duty of the Court to instruct you about the measure of damages By instructing
you on damages the Court does not mean to suggest for which party your verdict should be
rendered.

If you find for the plaintiff on the plaintiff s claims you must determine the plaintiff s
damages The plaintiff has the burden of proving damages by a preponderance of the evidence
Damages means the amount of money that will reasonably and fairly compensate the plaintiff for
any injury you find was caused by the defendants ln determining the measure of damages you
should consider: 0

1. The nature and extent of each plaintiffs injuries;

2. The mental, physical, and emotional pain and suffering experienced by each plaintiff

and that with reasonable probability will be experienced in the future; and

3. The loss of enjoyment of life experienced by each plaintiff and that with reasonable

probability will be experienced in the future

lt is for you to determine what damages if any, have been proved.

Your award must be based upon evidence and not upon speculation, guesswork or

conjecture

 

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INSTRUCTION NO. 24

The plaintiff has a duty to use reasonable efforts to mitigate damages To mitigate means

to avoid or reduce damages

The defendants have the burden of proving by a preponderance of the evidence:

1.

2.

that the plaintiff failed to use reasonable efforts to mitigate damages and

the amount by which damages would have been mitigated

 

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lNSTRUCTlON NO. 25

lf you find for a plaintiff you may, but are not required to, award punitive damages The
purposes of punitive damages are to punish a defendant and to deter similar acts in the future
Punitive damages may not be awarded to compensate a plaintiff

A plaintiff has the burden of proving by a preponderance of the evidence that punitive
damages should be awarded and, if so, the amount of any such damages

You may award punitive damages only if you find that the defendants’ conduct that
harmed the plaintiff was malicious oppressive or in reckless disregard of the plaintiffs rights
Conduct is malicious if it is accompanied by ill will, or Spite, or if it is for the purpose of injuring
the plaintiff Conduct is in reckless disregard of the plaintiff s rights if, under the circumstances
it reflects complete indifference to the plaintiffs safety or rights or if the defendant acts in the
face of a perceived risk that its actions will violate the plaintiffs rights under federal law. An act
or omission is oppressive if the defendants injure or damage or otherwise violate the rights of the
plaintiff with unnecessary harshness or severity, such as by misusing or abusing authority or
power or by taking advantage of some weakness or disability or misfortune of the plaintiff

lf you find that punitive damages are appropriate you must use reason in setting the
amount. Punitive damages if any, should be in an amount sufficient to fulfill their purposes but
should not reflect bias prejudice or sympathy toward any party. ln considering the amount of
any punitive damages consider the degree of reprehensibility of the defendants’ conduct.

Punitive damages may not be awarded against the City of Tacoma. Punitive damages

may be awarded even if you award plaintiff only nominal, and not compensatory, damages

 

 

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lNSTRUCTlON NO. 26
The law that applies to this case authorizes an award of nominal damages lf you find for
the plaintiff but you find that the plaintiff has failed to prove damages as defined in these

instructions you must award nominal damages Nominal damages may not exceed one dollar.

 

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lNSTRUCTlON NO. 27

When you begin your deliberations elect one member of the jury as your foreperson who
will preside over the deliberations and speak for you here in court.

You will then discuss the case with your fellow jurors to reach agreement if you can do
so. Your verdict, whether guilty or not guilty, must be unanimous

Each of you must decide the case for yourself, but you should do so only after you have
considered all the evidence discussed it fully with the other jurors and listened to the views of
your fellow jurors

Do not be afraid to change your opinion if the discussion persuades you that you should
But do not come to a decision simply because other jurors think it is right.

lt is important that you attempt to reach a unanimous verdict but, of course only if each
of you can do so after having made your own conscientious decision Do not change an honest

belief about the weight and effect of the evidence simply to reach a verdict.

 

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lNSTRUCTlON NO. 28
Because you must base your verdict only on the evidence received in the case and on
these instructions l remind you that you must not be exposed to any other information about the
case or to the issues it involves Except for discussing the case with your fellow jurors during

your deliberations

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Do not communicate with anyone in any way and do not let anyone else
communicate with you in any way about the merits of the case or anything to do with it.
This includes discussing the case in person, in writing, by phone or electronic means via
email, text messaging, or any lntemet chat room, blog, website or other feature This
applies to communicating with your family members your employer, the media or press
and the people involved in the trial. lf you are asked or approached in any way about
your jury service or anything about this case you must respond that you have been
ordered not to discuss the matter and to report the contact to the court.

Do not read, watch, or listen to any news or media accounts or commentary about
the case or anything to do with it; do not do any research, such as consulting dictionaries
searching the lntemet or using other reference materials and do not make any
investigation or in any other way try to learn about the case on your own

The law requires these restrictions to ensure the parties have a fair trial based on the same

evidence that each party has had an opportunity to address A juror who violates these
restrictions jeopardizes the fairness of these proceedings and a mistrial could result that would
require the entire trial process to start over. lf any juror is exposed to any outside information,

please notify the court immediately.

 

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lNSTRUCTlON NO. 29
Some of you have taken notes during the trial. Whether or not you took notes you
should rely on your own memory of what was said Notes are only to assist your memory. You

should not be overly influenced by your notes or those of your fellow jurors

 

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lNSTRUCTlON NO. 30

Those exhibits capable of being displayed electronically will be provided to you in that
form, and you will be able to view them in the jury room. A computer, projector, and accessory
equipment will be available to you in the jury room.

A court technician will show you how to operate the computer and other equipment; how
to locate and view the exhibits on the computer. You will also be provided with a paper list of
all exhibits received in evidence lf you need additional equipment or supplies you may make a
request by sending a note

ln the event of any technical problem, or if you have questions about how to operate the
computer or other equipment, you may send a note to the clerk, Signed by the foreperson or by
one or more members of the jury. Be as brief as possible in describing the problem and do not
refer to or discuss any exhibit you were attempting to view.

lf a technical problem or question requires hands-on maintenance or instruction, a court
technician may enter the jury room with the clerk present for the sole purpose of assuring that the
only matter that is discussed is the technical problem. When the court technician or any non-juror
is in the jury room, the jury shall not deliberate No juror may say anything to the court
technician or any non-juror other than to describe the technical problem or to seek information
about operation of equipment Do not discuss any exhibit or any aspect of the case

The sole purpose of providing the computer in the jury room is to enable jurors to view
the exhibits received in evidence in thiscase. You may not use the computer for any other
purpose At my direction, technicians have taken steps to make sure that the computer does not
permit access to the lnternet or to any "outside" website database directory, game or other

material Do not attempt to alter the computer to obtain access to such materials lf you discover

 

 

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that the computer provides or allows access to such materials you must inform me immediately
and refrain from viewing Such materials Do not remove the computer or any electronic data

from the jury room, and do not copy any such data.

 

 

 

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lNSTRUCTION NO. 31
A verdict form has been prepared for you. After you have reached unanimous agreement
on the verdict, your foreperson should complete the verdict form according to your deliberations

sign and date it, and advise the clerk that you are ready to return to the courtroom.

 

 

